                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                              MILWAUKEE DIVISION


CHELSEA HELLER,

      Plaintiff,
                                                         Case No: 2:18-cv-00310-JPS
v.
                                                        Honorable Judge Stadtmueller
TRANSWORLD SYSTEMS, INC.,

      Defendant.



                                  NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that CHELSEA HELLER (“Plaintiff”), hereby notifies the

Court that the Parties have settled all claims between them in this matter and are in the process of

completing the final closing documents and filing the dismissal. The Parties anticipate this

process to take no more than 60 days. The Parties propose to file a stipulated dismissal with

prejudice with 60 days of submission of this Notice of Settlement and pray the Court to stay all

proceedings until that time.

Respectfully submitted this 9th day of August, 2018.

                                                             Respectfully submitted,

                                                             s/ Marwan R. Daher
                                                             Marwan R. Daher
                                                             Sulaiman Law Group, Ltd.
                                                             2500 S. Highland Avenue, Suite 200
                                                             Lombard, IL 60148
                                                             Phone: (630) 575-8181
                                                             mdaher@sulaimanlaw.com
                                                             Attorney for Plaintiff




                                                 1

          Case 2:18-cv-00310-JPS Filed 08/09/18 Page 1 of 2 Document 18
                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Marwan R. Daher_____
                                                              Marwan R. Daher




                                                  2

            Case 2:18-cv-00310-JPS Filed 08/09/18 Page 2 of 2 Document 18
